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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,


                                       Case No.: 24-cr-542 (AS)
     - v. -



SEAN COMBS,
                       Defendant.



              DEFENDANT SEAN COMBS’S PROPOSED VOIR DIRE
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       Pursuant to the Court’s scheduling order (ECF 125), the defense’s proposed voir dire

questions on behalf of defendant Sean Combs are listed below:

1. What is your age?
2. What is your sex?
3. What is your gender identity?
4. In what city and county do you live?
5. Who, if anyone, do you live with?
6. If you are married or in a relationship, what is your spouse or partner’s occupation and
   employer?
       a. How long have they worked for that employer or been in that occupation?
       b. What are their job responsibilities?
7. Do you have children?
       a. If so, what are their ages?
       b. If you have adult children, what, if anything, do they do for work?
8. Are you currently working?
       a. Who is your current (or most recent) employer and what is your job title?
       b. If not, when was the last time you worked and please describe your most recent
          employment? What were your specific duties at your job?
       c. If you are working, what do you do for a living? What are your specific duties at your
          job?
       d. How would you describe your job responsibilities?
       e. Do you manage or supervise others as a part of your job?
9. What is the highest level of education you have completed, and if you have any college or post
   graduate degrees, what was your degree or area of study?
10. I am going to read you a list of occupational areas. Please tell me if you or someone you are
    very close to has any training, experience, or specialized knowledge in that area, and explain
    your/their experience:
       a. Business
       b. Sexual Assault Training
       c. Sexual Harassment Training
       d. Domestic Violence Training
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       e. Psychiatry/Psychology
       f. Security Services
       g. Addiction Treatment or Counseling
       h. Finance
       i. Law or Law Enforcement
11. What clubs, groups or organizations do you belong to or regularly participate in (for example,
    church groups, professional organizations, volunteer activities, victim’s rights groups, etc.):?
       a. If you have a spouse or partner, what clubs, groups or organizations does your spouse
          or partner belong to or regularly participate in?
12. What do you do in your free time? What are your hobbies or interests outside of work and
    family?
13. Do you use any social media platforms? If yes, which ones?
14. How do you get your news?
       a. What, if any, newspapers, magazines, websites, online news services or publications
          do you read most often?
       b. Do you listen to any podcasts? If so, which ones?
15. I am going to read three group-decision making styles, and I’d like you to tell me which one
    comes closest to the way you make decisions:
          Strongly express your views to get the outcome you believe is best
          Participate in the discussion and try to help build a consensus
          Listen and follow what you think the majority favors
16. Do you believe you make most decisions based on intuition or the examination of facts?
17. Do you have any personal experiences or opinions about drug or alcohol use or addiction?
       a. If yes, what is that experience?
       b. You are going to hear about drug and illegal alcohol use in this trial. Is that going to be
          difficult for you based on your experience?
18. The defendant in this case is a wealthy celebrity. Do you have any opinions regarding wealthy
    individuals that would affect your ability to serve as a fair and impartial juror in this case?
       a. Do you believe that wealthy people get away with things that the less wealthy do not?
19. What kind of music do you like?
       a. How often do you listen to music?
       b. Do you have an opinion about the hip hop rap music industry or artists in that genre?
               i. If so, please tell us what it is.


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